885 F.2d 866Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Eric PENN, Plaintiff-Appellant,v.BRUNSWICK CORRECTIONAL CENTER, E.B. Wright, Jr., Warden,H.L. Robinson, Sargeant, D. Garner, C.O., G.Nicholson, C.O., W. Lewis, C.O., RobertR. Kelly, Warden, Defendants-Appellees.
    No. 89-6667.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 10, 1989.Decided Sept. 18, 1989.
    
      Eric Penn, appellant pro se.
      Before WIDENER and MURNAGHAN, Circuit Judges and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Eric Penn appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Penn v. Brunswick Correctional Center, et al, CA-89-808-AM (E.D.Va. May 25, 1989).  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      AFFIRMED.
    
    